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     In The United States Court of Federal Claims
                                               No. 10-560C

                                     (Filed: January 13, 2012)
                                            __________

  EREH PHASE I, LLC,

                                  Plaintiff,

                          v.

  THE UNITED STATES,

                                 Defendant.


                                                __________

                                               ADR ORDER
                                                __________

       Today, a preliminary status conference was held to discuss ways in which to settle this
case. Participating in the conference were Mr. Michael Golden, for plaintiff, and Mr. James
Sweet, for defendant. During the conference, the parties agreed to the following schedule:

       1.       On or before Friday, January 20, 2012, the parties shall submit to
                chambers a joint letter to the court listing the issues still in dispute;

       2.       On or before Friday, February 10, 2012, the parties shall each submit to
                chambers a letter of no more than ten single-spaced pages laying out their
                respective positions on each issue; and

       3.       On or before Friday, February 24, 2012, the parties shall each submit to
                chambers a response to the opposing party’s letter of no more than five
                single-spaced pages.

       IT IS SO ORDERED.


                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge
